           Case 3:08-cr-00082-HDM-CLB               Document 102        Filed 11/04/09     Page 1 of 5
AO 2458 (Rev.09/08)Judgmenti
                           naCrlminalCase
         Sheetl

                                        UNITED STATESDISTRICTCOURT r-.Z -
                                                                        r?jr
                                                                           :j)                   njcqIwo
                                             DISTRICTOFNEVADA      1
                                                                   '
                                                                   l- -J7 ''URED ZIIt
                                                                                    JrISEL'F/LFT;)
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                                                                                    l      c-         .
UNITED STA TES OF AM ERICA                  JUDGM ENT IN A CRIM INAL CAS                   ;
            VS.                                                                            ! ht)t -2k 2xg l
CLT FORD M ICHAEL LAVOY                     CASE NUM BER:      3208-cr-82-LRH(V C)
                                            U SM NU M BER:     43147-048                        ---
                                                                                           CLEDRK!;?DISTRICTC/LJRT
                                                                                              ;3';Rhp;r0FNE7kbâ
                                            Ram on Acosta                           .
                                                                                    r
                                                                                    a
                                                                                    'Y'                              Ty
THE DEFENDAN T:                             DEFENDANT'S ATTORNEY

(V) pledguiltytoCount1oftheSecond Supersedinclnformation
( ) plednolocontenderetocountts)                                             whichwasaccepted bythecourt.
( ) wasfoundguiltyoncountts)                                                  afterapleaofnotguilty'.

Thedefendantisadjudicatedguiltyoftheseoffensets):
                                                                                 Date
Title & Section                  Nature ofO ffense                               Offense Ended            Count

21U.S.C.84l(a)(l)and             Distribution ofand Possession with lntent       11/8/07                      1
 841(b)(1)                       To Distribute aControlled Substance
18 U.S.C.2                       A iding and Abetting


         Thedefendantissentencedasprovided inpages2through 5 ofthisjudgment.Thesentenceisimposed
pursuantto the Sentencing Reform A ctof 1984.

( ) Thedefendanthasbeenfoundnotguiltyoncountts)                                              .
                                                                                             -
(7) Allremainin:counts aredismissedonthemotionoftheUnited States.
       IT IS ORDERED thatthe defendantm ustnotify the United StatesA'   ttorney forthisdistrictwithin 30 daysofany
changeofnam e,residenee,orm ailing addressuntila1lfines,restitution,costs,and specialassessm entsim posed by this
judgmentarefullypaid.lforderedtopayrestitution,thedefendantmustnotify thecourtand United Statesattorneyof
m aterialchangesin econom iccircum stances.

                                                                N OVEM BER 3.2009
                                                                DateofImposition ofJudgm ent




                                                                Si tureofJudge

                                                                LARRY R.HICKS
                                                                U .S.DISTRICT JU DGE          - -

                                                                Nam e and Title ofJudge

                                                                    zz 5 ;6
                                                                D ate
          Case 3:08-cr-00082-HDM-CLB            Document 102        Filed 11/04/09     Page 2 of 5
AO 2458 (Rev.09/08)JudgmentinaCriminalCase
         Sheet2-lmprisonment
DEFENDANT:               CLIFFORD M ICHAEL LAVOY                                              Judgm ent-Page 2
CASE NUM BER:            3:08-cr-82-LRH(VPC)
                                               IM PR ISO NM ENT

         Thedefendantishereby comm itted to thecustody ofthe United States Bureau ofPrisonsto be im prisoned fora
total term of:THIRTY SEVEN (37)M ONTHS




(J) ThecoullmakesthefollowingrecommendationstotheBureauofPrisons:
        lncarceration FCiHerlong,Califonlia.




        The defendantisremanded to the custody ofthe United StatesM arshal.

        Thedefendantshallsurrenderto the United StatesM arshalforthisdistrict:
        (J ) before 12:00noononJanuarv8.2010
        ( ) asnotified bytheUnited StatesM arshal.
   )    Thedefendantshallsurrenderforselwiceofsentenceattheinstitution designatedbytheBureau ofPrisons:
        ( ) before2 p.m.on
        ( ) asnotified bytheUnited StatesM arshal.
        ( ) asnotified bytheProbation ofPretrialServicesOffice.
                                                    RETU RN

Ihaveexecutedthisjudgmentasfollows:




        Defendantdelivered on                               to
at                                                                        ,with acertifiedcopy ofthisjudgment.

                                                             UNITED STATES M ARSHAL

                                                             BY:
                                                                    Deputy United StatesM arshal
          Case 3:08-cr-00082-HDM-CLB                    Document 102            Filed 11/04/09          Page 3 of 5
AO 2458 (Rev09/08)ludgmentinaCnmmalCasc
        Sheet3-SupennsedRelease
D EFEND ANT:             CLIFFORD M ICHAEL LAVOY                                                               Judgment-Page 3
CASE NUM BER:            3:08-cr-82-LRH(VPC)
                                            SU PERV ISED RELEA SE
        Upon release from imprisonm ent,the defendantshallbe on supervised releasefora tenn ofFIV E (5)YEARS.
The Cour'tw illconsiderarecluestforearlv tennination afterthree(3)v.earsofsuceessfulcompliancew ith theterm sof
sunervised release.

       The defendantm ustreportto the probation office in the districtto which the defendantisreleased within 72
hoursofrelease from thecustody ofthe Bureau ofPrisons.

The defendantshallnotcom m itanotherfederal,state,orIocalcrim e.

The defendantshallnotunlawfully possessa controlled substance. The defendantshallrefrain from any unlawfuluse of
a controlled substance. The defendantshallsubm itto one drug testw ithin 15 daysofrelease from imprisonmentand at
leasttw'o periodicdrug teststhereafter,notto exceed l04 drugtestsannually. Revocation ism andatory forrefusalto
comply.

()      Theabovedrugtestingcondition issuspended,basedonthecourt'sdeterminationthatthedefendantposesa1ow
        risk offuture substance abuse.
(J) Thedefendantshallnotpossessatirearm,ammunition,destructivedevice,orany otherdangerousweapon.
(Vj Thedefendantshallcooperateinthecollection ofDNA asdirectedby theprobationofiice.
( ) ThedefendantshallcomplywiththerequirementsoftheSex OffenderRegistration andNotification Act(42
    U.S.C.j l6901 etseq.jAsdirectedbytheprobation oftice,theBureauofPrisons,orany statesexoffender
        registration agency in which he orshe resides.,works,isa student,orwasconvicted ofa qualifying offense.
        The defendantshallparticipate in an approved program fordomestic violence.

       lfthisjudgmentimposesafineorarestitution,itisaconditionofsupervisedreleasethatthedefendantpay in
accordancewiththeScheduleofPaymentssheetofthisjudgment.
        The defendantm ustcom ply with thestandard conditionsthathave been adopted by thiscourtaswellaswith any
additionalconditionson the attached page.

                                    STAN DARD CO NDITIO NS O F SUPERV ISIO N
        thedefendantshallnotleavetheiudicialdistrictwithoutthepermissionofthecourtorprobationoftice'
        thedefendantshallreporttotheprobation officeand shallsubmitatruthfuland uomplete written reportwithin !hefirstfivedaysofeach
        month'
        thedefendantshallanswertruthfully al1inquiricsby the probation officeand follow the instructionsofthe probation office'
        tbedcfcndantshallsupporthisorherdependantsand meetotherfamiiy responsibilities'
        the defendantshallwork regularl
                                      y ata law-fuloccupation unlessexcused b)'thcprobation officeforSchooling.training,orotheracceptable
        reasons.'
        thcdefendantshallnotifj theprobation offif
                                                 ;eatleastten dayspriorto arll'changcinresidenceoremploym ent:
        thedefendantshallrcfrain from excessiveuscofalcoholantlshallnotpurchase.possessouse,distributeoradministerany controlled
        substanceoranyparaphernaliarelated to anycontrolled substances.cxceptasprescribed by aphysician. '
8)      the defendantshallnotfrequentplaueswherecontrolledsubstancesarcillegallysold.used.distributcd.oradministered:
9)      tl
         zedcfendantshallnotassociatewith any personsengaged in criminalactivitl' .and shallnotassociatewith any pcrson convicted ofa
        fciony.unlessgranted permission todo so b/theprobation oflice:
        thcdcfcndantshallpermitaprobation officeto visithim orheratany timeathomeorelsewhereand shallpennitconfiscation ofany
        contraband observcd in plainview oftheprobationoffice'
        thedcfendantshal!notify theprobation ofticewithin seventy-two hoursofbeing arrested orqucstioned by a law enforcementoflicc:
        the defendantshallnotenterinto any agreemtntto actasan infonneroraspecialagentofa law entbrccmcntagency witboutthe
        permission ofthecourt'and
        asdirectedbytheprobationoffice.thedefendantshallnotifà,thirdpartiesofriskstllatmaybeoccasionedbythedefendant'scriminal
        recordorpersonalhistory orcharacteristics.and shallpermitthcprobationofficetom akc suchnotificationsandto conlirm thedefendant's
        complianccwith such notification requircment.
            Case 3:08-cr-00082-HDM-CLB             Document 102      Filed 11/04/09      Page 4 of 5
A()24513 (Rev.09108)JuJ mentirlaCriminalCase
          Sheet3-SupervlsedRdease
DEFEN DAN T:               CLIFFORD M ICHAEL LAV OY                                           Judgm ent-Page 4
CASE NUM BER:              3:08-cr-82-LRH(VPC)
                                        SPECIAL CO NDITION S OF SUPERW SIO N

         Possession ofW eapon -Thedefendantshallnotpossess,have underhis/hercontrol,orhaveaccessto any Grearm ,
         explosive device,orotherdangerousweapons,asdefined by federal,state orlocallaw .

         W arrantlessSearch -The defendantshallsubm ithis/herperson,property,residence,place ofbusinessand vehiele
         underhis/hereontrolto asearch,conductedbytheUnited Statesprobation ofticeorany authorized person underthe
         imm ediateand personalsupervision oftheprobation office,atareasonabletime and in a reasonable manner,based
         upon reasonablesuspicion ofcontrabandorevidenee ofaviolation ofa condition ofsupervision.Failureto submit
         to asearch may begroundsforrevocation.Thedefendantshallinform any otherresidentsthattheprem isesm ay be
         subjecttoasearchpursuanttothiscondition.
         Substance Abuse Treatment - The defendant shallparticipate in and successfully com plete a substance abuse
         treatment and/or cognitive based life skillsprogram ,which willinclude drug/alcoholtesting and/or outpatient
         counseling,asapproved and directed by theprobation office. Defendantshallrefrain from theuseand possession
         efbeer,wine,Iiquorand otherforms ofintoxicants while participating in substance abuse treatment. Further,the
         defendantshallbe required to contributeto thecostsofservicesforsuchtreatm ent,asapprovedand directed by the
         probationoftice,baseduponhis/herability topay.lfdeemedappropriate,theProbation Officemayrequestawaiver
         ofthiscondition ofsupervised release.
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AO 2458 (Rev 09/08)Judgmentin aCriminalCase
          Sheet5-CriminalM onetan'Penalties
DEFEN DANT:                CLIFFORD M ICHA EL LAVOY                                                   Judgm ent-Page 5
CASE NUMBER:               3:08-cr-82-LRH(VPC)
                                              CR IM INA L M O NETA R Y PEN ALTIES
         The defendantm ustpay thetotalcrim inalmonetal'y penaltiesunderthe schedule ofpaym entson Sheet6.

                                     A ssessm ent                    Fine                           R estitution

         Totals:                     $100.00                          SW AIVED                      $N/A
                                     Due and payable imm ediately.

         On m otion by theGovernment,IT IS ORDERED thatthe specialassessmentim posed by the Courtisrem itled.

         The determ ination ofrestitution isdeferred until                       . An Amended Judgmentin a Crim inalCase
         (AO 245C)willbeenteredaftersuchdetermination.
()      Thedefendantshallmakerestitution(ineludingcommunit.
                                                          yrestitution)tothefollowingpayeesintheamountlisted
        below .

         lfthedefendantm akesapartialpaym ent,each payeeshallreceive an approxim ately proportioned payment,unless
         specifiedothenviseinthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto l8U.S.C.j
         3664(1),a1Inonfederalvictimsmustbepaid beforetheUnited Statesispaid.
N am e ofPavee                                  TotalLoss             Restitution Ordered           Prioritv ofPercentaae

Clerk,U.S.D istrictCourt
Attn:FinancialOftice
Case No.
333 LasVegasBoulevard,South
LasVegas,1VV 89101

TOTALS                                          $                     $


Restitution am ountordered pursuantto plea agreement: $

The defendantmustpay intereston restitution and a fine ofmorethan $2,500,unlessthe restitution orfine ispaid in full
beforetheGfteenth day afterthedateofjudgment,pursuantto l8 U.S.C.j3612(9.A1Iofthepaymentoptionson Sheet6
maybesubjecttopenaltiesfordelinquencyanddefault,pursuanttol8U.S.C.j3612(g).
The courtdetermined thatthe defendantdoesnothave theability to pay interestand itisordered that:

        the interestrequirem entiswaived forthe:            )tine ( )restitution.
        the interestrequirementforthe: ( )fine              )restitution ismodified asfollows:




*Findingsforthetotalam ountoflosses are required underChapters l09A,1l0,110A,and l13.
                                                                                    /$.ofTitle l8 foroffenses
com m itted on orafterSeptem ber 13,1994 butbeforeApril23,1996.
